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 7
 8                       IN THE UNITED STATES DISTRICT COURT
 9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,               )   CASE NO. 1:11-CR-00184 AWI
                                             )
12                        Plaintiff,         )   STIPULATION AND
                                             )   ORDER FOR CONTINUANCE OF TRIAL
13   v.                                      )
                                             )
14   ROBERT CERVANTES,                       )
                                             )
15                        Defendant.         )
                                             )
16                                           )
17        IT IS HEREBY STIPULATED by and between Benjamin B. Wagner,
18   United States Attorney and Kimberly A. Sanchez, Assistant U.S.
19   Attorney and Daniel K. Martin, attorney for Robert Cervantes, that
20   the trial set for August 7, 2012 be continued to September 25, 2012
21   at 8:30 a.m.
22        1.     A necessary witness in the case, ATF SA Ryan Stearman, the
23   case agent, has received a new assignment on the east coast, and the
24   week of August 7, 2012 is the first week of his assignment.              As such,
25   it would be extremely difficult for him to appear back in the Eastern
26   District of California as he is just transitioning into his new
27   position.   Moreover, the the parties met and conferred on July 13,
28   2012 for over 2 hours, and need additional time to discuss a possible

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 1   resolution of the matter.
 2        2.   The parties request that the Court keep the July 23, 2012
 3   court date in place as a status conference, set the trial for
 4   September 25, 2012, and set a trial confirmation for September 4,
 5   2012.
 6        3.    The parties agree that the Court should order time
 7   excludable through and until September 4, 2012, finding that the ends
 8   of justice served by granting such continuance outweigh the best
 9   interests of the defendant and the public pursuant to 18 U.S.C. §
10   3161(h)(7)(A).
11
     Dated: July 13, 2012                    Respectfully submitted,
12
                                             BENJAMIN B. WAGNER
13                                           United States Attorney
14
                                       By     /s/ Kimberly A. Sanchez
15                                           KIMBERLY A. SANCHEZ
                                             Assistant U.S. Attorney
16
     Dated: July 13, 2012                    /s/ Daniel K. Martin
17                                           DANIEL K. MARTIN
                                             Attorney for Robert Cervantes
18
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20   IT IS SO ORDERED.
21
     Dated:       July 16, 2012
22   0m8i78                            CHIEF UNITED STATES DISTRICT JUDGE
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